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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   BENJAMIN D. GALLOWAY, Bar# 214897
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700

 5   Attorney for Defendant
     SANTOS BARRAJAS
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,    )
12                                )      Cr.S. 09-408-LKK
                  Plaintiff,      )
13                                )      STIPULATION AND ORDER
             v.                   )
14                                )      DATE:     January 11, 2011
     VALENCIA-MENDOZA, et al.,    )      TIME:     9:15 a.m.
15                                )      JUDGE:    Hon. Lawrence K. Karlton
                  Defendants.     )
16                                )
     ____________________________ )
17
18      It is hereby stipulated and agreed to between the United States of
19   America through DANIEL McCONKIE, Assistant U.S. Attorney, and
20   defendant, SANTOS BARRAJAS by and through his counsel, BENJAMIN
21   GALLOWAY, Assistant Federal Defender, that the status conference set
22   for Tuesday, January 4, 2010, be continued to Tuesday, January 11,
23   2011, at 9:15 a.m., for status conference and possible change of plea.
24      This continuance is requested as the parties are working toward
25   resolution but need additional time to finalize an agreement.
26      It is further stipulated that the time period from the date of this
27   stipulation, December 23, 2010, through and including the date of the
28   new status conference/possible change of plea hearing, January 11,
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 1   2011, shall be excluded from computation of time within which the trial
 2   of this matter must be commenced under the Speedy Trial Act, pursuant
 3   to 18 U.S.C. §§ 3161 (h)(7)(B)(iv)and Local Code T4 [reasonable time
 4   for defense counsel to prepare].
 5   DATED: December 23, 2010       Respectfully submitted,
 6                                  DANIEL J. BRODERICK
                                    Federal Defender
 7
                                    /s/ Benjamin Galloway
 8                                  BENJAMIN GALLOWAY
                                    Assistant Federal Defender
 9                                  Attorney for Defendant
                                    SANTOS BARRAJAS
10
11   DATED: December 23, 2010       BENJAMIN GALLOWAY
                                    United States Attorney
12
                                    /s/ Benjamin Galloway for
13                                  DANIEL McCONKIE
                                    Assistant U.S. Attorney
14                                  Attorney for Plaintiff
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16
                                    O R D E R
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        Based on the stipulation of the parties and good cause appearing
18
     therefrom, the Court hereby adopts the stipulation of the parties in
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     its entirety as its order.     It is hereby ordered that the presently set
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     January 4, 2010, status conference shall be continued to January 11,
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     2011, at 9:15 a.m..   It is further ordered that the time period from
22
     the date of the parties' stipulation, December 23, 2010, through and
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     including the date of the new status conference hearing, January 11,
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     2011, shall be excluded from computation of time within which the trial
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     of this matter must be commenced under the Speedy Trial Act, pursuant
26
     to 18 U.S.C. § 3161 (h)(7)(B)(iv) and Local Code T4 [reasonable time
27
     for defense counsel to prepare].
28
        Based on the stipulation of the parties and good cause appearing

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 1   therefrom, the Court hereby finds that the failure to grant a
 2   continuance in this case would deny defense counsel reasonable time for
 3   effective preparation taking into account the exercise of due
 4   diligence.   The Court specifically finds that the ends of justice
 5   served by the granting of such continuance outweigh the interests of
 6   the public and the defendant in a speedy trial.
 7      IT IS SO ORDERED.
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     DATED: January 4, 2011
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